Docusign Envelope ID: 53DFE3FC-668B-4A34-8E2C-122E2F4C02A5
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                                                  IN THE UNITED STATES BANKRUPTCY
                                                 COURT FOR THE DISTRICT OF DELAWARE


              In re:                                                          Case No. 22-11068 (JTD)

              FTX TRADING LTD., et al.,                                       Chapter 11

                                                    Debtors.                  (Jointly Administered)


                                  NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY

        A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111 (a). Transferee hereby gives notice
        pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in this notice.


                    Ceratosaurus Investors, L.L.C.                             Name (Redacted)_________
                    Name of Transferee                                         Name of Transferor

                    Address for all Notices and Payments:                      Address: On file with Debtors
                    c/o Farallon Capital Management, L.L.C.
                    One Maritime Plaza, Suite 2100
                    San Francisco, CA 94111
                    Attn: Michael Linn
                    Email: MLinn@FarallonCapital.com



                    Schedule/Claim No.                   Creditor Name                Amount                   Debtor           Case No.
                      Customer Code:
                                                        Name (Redacted)           As described on       FTX Trading Ltd. 22-11068
                        02006415
                                                                                  Schedule F (see
                                                                                     attached)
                   Confirmation ID:
                                                        Name (Redacted) As described on the FTX Trading Ltd. 22-11068
             3265-70-LHYWC-800080734
                                                                         Customer Claim
                                                                              Form
                   Confirmation ID:
                                                        Name (Redacted) As described on the FTX Trading Ltd. 22-11068
             3265-70-UMHVN-432626658
                                                                         Customer Claim
                                                                              Form

        I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge
        and belief.

              By:                                                                                     25th
                                                                                           Date: July __, 2024
                       Transferee/Transferee’s Agent


            Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.




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                                                                    Schedule F




                                                               Name of Transferee

        Transferee has in its possession an Evidence of Transfer of Claim signed by the Transferor.

        To protect the identity of the Transferor, Transferee has not disclosed the Transferor’s name or address, and has not attached the
        signed Evidence of Transfer of Claim to this Notice of Transfer of Claim.

        Upon written request, Transferee is prepared to provide a copy of the signed Evidence of Transfer of Claim to the Bankruptcy
        Court, the Debtors, and appropriate professionals.




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